Case 6:15-cv-00233-RWS-JDL Document 16 Filed 07/17/15 Page 1 of 1 PageID #: 72




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

  ROTHSCHILD BROADCAST                                §
  DISTRIBUTION SYSTEMS, LLC.                          §
                                                      §
             Plaintiff                                §       CASE NO. 6:15cv233-RWS-JDL
                                                      §
  vs.                                                 §
                                                      §
  VUDU, INC.                                          §
                                                      §
             Defendant                                §


        .                                        ORDER

            After considering Plaintiff’s Stipulation of Dismissal (Doc. 15), the Court:

            GRANTS Plaintiff Rothschild Broadcast Distribution Systems, LLC’s Stipulation of

 Dismissal with prejudice; and

            DISMISSES all of Plaintiff Rothschild Broadcast Distribution Systems, LLC.’s claims

 against Vudu, Inc. with prejudice.


            So ORDERED and SIGNED this 17th day of July, 2015.




                                                               ____________________________________
                                                               ROBERT W. SCHROEDER III
                                                               UNITED STATES DISTRICT JUDGE
